                                                                                         FILED
                                                                                2012 May-31 PM 01:28
                                                                                U.S. DISTRICT COURT
                                                                                    N.D. OF ALABAMA


              IN THE UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF ALABAMA
                       SOUTHERN DIVISION


UNITED STATES OF AMERICA )
                         )
          v.             )                   CASE NO.
                         )
AHMAD RAHIMINEJAD        )

                                INFORMATION

COUNT ONE [26 U.S.C. § 7206(1)]

      The United States Attorney charges that:

      That on or about May 6, 2007, within the Northern District of Alabama, the

defendant,

                           AHMAD RAHIMINEJAD,

a resident of Bessemer, Alabama, did willfully make and subscribe a U.S. Individual

Income Tax Return, Form 1040, which was verified by a written declaration that it

was made under the penalties of perjury and which he did not believe to be true and

correct as to every material matter in that the U.S. Individual Income Tax Return,

Form 1040, which was prepared and signed in the Northern District of Alabama and

was filed with the Internal Revenue Service, stated that gross receipts for 2006 was

$629,700.00, whereas he then and there knew and believed that his gross receipts

were $1,144,532.00.
In violation of Title 26, United States Code, Section 7206(2).

                                JOYCE WHITE VANCE
                                United States Attorney


                                /s/ Davis Barlow
                                DAVIS BARLOW
                                Assistant United States Attorney




                                   2
